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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO


MARTA SANCHEZ; THE ESTATE OF STEPHANIE
LOPEZ; and, DOMINIC MARTINEZ;

                                                              Civil Action No.: 19-cv-01871
                    Plaintiff,

      v.
CITY OF LITTLETON,
        and
DOUG STEPHENS, POLICE CHIEF OF LITTLETON, IN
HIS OFFICAL CAPACITY,
        and
ANTHONY GUZMAN, INDIVIDUALLY,
        and
LUKE MCGRATH, INDIVIDUALLY,
        and
JOSEPH CARNS, INDIVIDUALLY,
        and
CITY OF ENGLEWOOD,
        and
JOHN COLLINS, POLICE CHIEF OF ENGLEWOOD,
IN HIS OFFICAL CAPACITY,
       and
BRIAN MARTINEZ, INDIVIDUALY,

                       Defendants.


         CIVIL RIGHTS COMPLAINT WITH REQUEST FOR TRIAL BY JURY



       NOW COMES Plaintiffs Marta Sanchez, the Estate of Stephanie Lopez, and Dominic

Martinez, by and through their attorneys, the Law Office of Judge Lang & Katers, LLC and Gende

Law Office, S.C., complain against Defendants and request trial by jury as follows:

                                     I.    INTRODUCTION
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        1.        This is an action brought by Marta Sanchez, the Estate of Stephanie Lopez, and

Dominic Martinez, to vindicate profound deprivations of their Constitutional rights caused by Police

brutality.

        2.        That on or about June 29, 2017, at around midnight in the city of Littleton, the

Littleton Police Department received a 911 call that a car had been stolen.

        3.        That City of Littleton Police Officer, Luke McGrath observed what he believed to be

the stolen vehicle in a Shell Gas Station in the City of Littleton on South Santa Fe Drive.

        4.        That City of Littleton Police Officer Joseph Carns upon information and belief

observed the same stolen vehicle northbound on Santa Fe Drive in the City of Littleton and at some

point, that same evening pulled in behind the alleged stolen vehicle.

        5.        That City of Littleton Police Officer Anthony Guzman upon information and belief

received a command over the radio from Littleton Police Commander to pursue the alleged stolen

vehicle. Officer Anthony Guzman proceeded to fall in behind Officer Carns to follow the alleged

stolen vehicle.

        6.        That the vehicle being pursued was driven by Marta Sanchez, with Stephanie Lopez

in the front passenger seat and Dominic Martinez located in the back rear seat.

        7.        That the vehicle driven by Sanchez slowed at South Santa Fe Drive and East

Arkansas Avenue upon information and belief in the City of Littleton were Defendant Officer Carns

executed a PIT maneuver on the vehicle by making contact with his squad car in Sanchez’s rear

right corner.

        8.        That Sanchez’s vehicle is stopped by Officer Carnes, with Officer Guzman and

McGrath in close proximity to said vehicle.




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        9.     That Guzman fired 9 shots at the Sanchez vehicle from his 40 caliber 22 Glock, and

Officer McGrath fired seven times into said vehicle with his 9 mm handgun.

        10.    That the vehicle driven by Sanchez after having sixteen (16) shots fired into it

proceeded to pull away and drive East on Arkansas Avenue. That Sanchez’s vehicle proceeded to

1233 South Bannock Street, upon information and belief in the City of Englewood. That said car

was rear ended by Officer Guzman and came to a stop.

        11.    That while the vehicle was stopped, Defendant Carnes fired his weapon five (5)

times into the Sanchez vehicle. That Defendant Guzman also fired his weapon into the car.

        12.    Sanchez briefly placed the car in reverse and drove South on Bannock Street. That

Defendant Guzman proceeded to follow the Sanchez vehicle and while approaching Louisiana

Avenue in the City of Denver, Guzman rammed into the Sanchez vehicle causing it to collide with a

pole.

        13.    That while the vehicle was stopped, Defendant Guzman proceeded to fire twenty-

one (21) shots into the stalled vehicle and Defendant Martinez of the Englewood Police Department

fired his weapon five (5) times into the Sanchez vehicle.

        14.    That Sanchez was apprehended at this location from the automobile in the City of

Denver and sustained thirteen (13) to fourteen (14) bullet wounds from the Defendant’s firing into

the automobile she was driving. Sanchez as a result of the bullet wounds is now paralyzed.

        15.    That Plaintiff Stephanie Lopez was shot in the right back side of her head which

allegedly came from Defendant Carns’ firearm during the 1233 Bannock Street stop, which lead to

her demise. She also was shot several other times by these Defendants.




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        16.     That Plaintiff Dominic Martinez was shot, by the police and during the pursuit

jumped out of the Sanchez vehicle. Martinez was not apprehended by the Police until latter the next

day.

        17.     In Concert or conspiracy, the Defendants maliciously and with deliberate

indifference, baselessly caused the death of Stephanie Lopez, the quad-paraplegic of Marta Sanchez

and the injuries to Dominic Martinez.

                             II.     JURISDICTION, VENUE, AND NOTICE

        18.     This action arises under the Constitution and Laws of the United States, including

Article III, section 1 of the United States constitution and is brought pursuant to 42 U.S.C. §§ 1981,

1983 and 42 U.S.C. § 1988. The Jurisdiction of this Court invoked pursuant to 28 U.S.C. §§ 1331,

1343, 2201.

        19.     That this Court has supplemental jurisdiction over all state law claims which arise

out of the same facts common to Plaintiffs’ federal claims pursuant to 28 U.S.C. § 1367.

        20.     That the amount in controversy exceeds Seventy-Five Thousand ($75,000) Dollars,

exclusive of costs, interests, and attorneys’ fees.

        21.     This cause is instituted in the United States District Court for the District of

Colorado pursuant to all relevant events and omissions occurred and in which Defendants maintain

officed and/ or reside.

                                           III.       PARTIES

        22.     At all times relevant hereto, Plaintiff Marta Sanchez (“Sanchez”) was a resident of

the State of Colorado and a Citizen of the United States whose constitutional, federal, and state

rights were violated by the Defendants. At all times material hereto, Lopez was a resident of the




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State of Colorado and a Citizen of the United States entitled to all rights, privileges, and immunities

accorded by the Constitution of the United States.

       23.     At all times relevant hereto, Plaintiff, the Estate of Stephanie Lopez, represents the

decedent, Stephanie Lopez (“Lopez”) whose constitutional, federal, and state rights were violated

by the Defendants. At all times material hereto, Lopez was a resident of the State of Colorado and a

Citizen of the United States entitled to all rights, privileges, and immunities accorded by the

Constitution of the United States.

       24.     At all times relevant hereto, Plaintiff Dominic Martinez (“Martinez”) was a resident

of the State of Colorado and a Citizen of the United States whose constitutional, federal, and state

rights were violated by the Defendants. At all times material hereto, Martinez was a resident of the

State of Colorado and a Citizen of the United States entitled to all rights, privileges, and immunities

accorded by the Constitution of the United States.

       25.     At all times relevant hereto, Defendant City of Littleton hereinafter “Defendant

Littleton” is a Colorado Municipal Corporation and is the legal entity responsible for itself and for

the Littleton Police Department. This Defendant is also the employer of the individual Defendants,

Anthony Guzman, Luke McGrath, Joseph Carns, and Doug Stephens and is a proper entity to be

sued under 42 U.S.C. § 1983.

       26.     At all times relevant hereto, Defendant Doug Stephens (“Stephens”) was a Citizen of

the United States and a resident of the State of Colorado and was acting under color of the State

Law and within the scope of his employment in his capacity as Chief of Police of Littleton

employed by the Defendant City of Littleton, who as chief of police instructed, trained and was in

charge of Defendants Anthony Guzman, Luke McGrath, and Joseph Carns. Defendant Stephens is

also sued individually.




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       27.     At all times relevant hereto, Defendant Anthony Guzman (“Guzman”) was a Citizen

of the United State and resident of the State of Colorado and was acting under color of state law and

scope of employment in his capacity as a Law enforcement officer and employed by Defendant City

of Littleton and/or of the Littleton Police Department. Defendant Guzman is sued individually.

       28.     At all times relevant hereto, Defendant Luke McGrath (“McGrath”) was a citizen of

the United States and resident of the State of Colorado and was acting under color of state law in his

capacity as a Law enforcement officer and employed by Defendant City of Littleton and/or of the

Littleton Police Department. Defendant McGrath is sued individually.

       29.     At all times relevant hereto, Defendant Joseph Carns (“Carns”) was a Citizen of the

United States and resident of the State of Colorado and was acting under color of state law in his

capacity as a Law enforcement officer and employed by Defendant City of Littleton and/or of the

Littleton Police Department. Defendant Carns is sued individually.

       30.     Defendant City of Englewood hereinafter, “Defendant Englewood” is a Colorado

Municipal Corporation and is the legal entity responsible for itself and for the Englewood Police

Department. This Defendant is also the employer of the individual Defendants John Collins and

Brian Martinez and is a proper entity to be sued under 42 U.S.C. § 1983.

       31.     At all times relevant hereto, Defendant John Collins (“Collins”) was a Citizen of the

United States and a resident of the State of Colorado and was acting under color of State Law in his

capacity as Chief of Police for the City of Englewood Police Department employed by the City of

Englewood and/or the Englewood Police Department, where as Chief of Police instructed, trained

and was in charge of Defendant Brian Martinez. John Collins is sued in his individual capacity also.

       32.     At all times relevant hereto, Defendant Brian Martinez (“Officer Martinez”) as a

Citizen of the United States and a resident of the State of Colorado and was acting under color of




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State law in his capacity as a law enforcement officer employed by the Defendant City of

Englewood and/or of the Englewood Police Department. Defendant Officer Martinez is sued

individually.

                                    IV.     STATEMENT OF FACTS

        33.     Plaintiffs incorporate all of the preceding paragraphs, including allegations in the

Introduction as if they were fully set forth again at this point.

        34.     That Littleton Police Department received a report of a stolen car from a Dunkin

Donuts in the 4170 Mineral Avenue located in the City of Littleton after 11:00 P.M. on June 29,

2017.

        35.     That Defendant McGrath received the report of the stolen automobile from Dunkin

Donuts on June 29, 2017 and proceeded North from the Dunkin Donuts towards the City of

Englewood.

        36.     That Sanchez was the operator of a white automobile driving North on Santa Fe

Avenue, towards the City of Englewood. That Lopez was seated in the front passenger seat, with

Martinez in the rear back seat of said automobile.

        37.     That Defendant McGrath in his marked City of Littleton squad car observed the

white automobile driven by Sanchez in a Shell Gas Station.

        38.     That said vehicle driven by Sanchez was driving North on Santa Fe Drive in

Littleton. That Defendant Carns pulled his marked squad car behind the vehicle driven by Sanchez,

with Defendant Guzman following in his squad car some distance back of Carns and McGrath

following Guzman in his marked squad car.




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       39.     That an unmarked Lieutenant Police Commander from the City of Littleton ordered

the Littleton Police Officers Guzman, Carns, and McGrath to follow the automobile driven by

Sanchez.

       40.     That Defendant Carns would also request from his Lieutenant Police Commander

permission to perform a PIT Maneuver on the Vehicle driven by Sanchez. A PIT Maneuver is a

means of making contact by the squad car and the vehicle being chased or pursued.

       41.     That at or about midnight or June 29, 2017, Defendant Carns requested permission

to perform a PIT maneuver on the vehicle driven by Sanchez in the area of Santa Fe Drive and East

Arkansas Avenue as Sanchez was slowing down.

       42.     Carns squad car struck the rear end of the car driven by Sanchez with Martinez and

Lopez in said vehicle, causing the vehicle to spin nearly 180 degrees coming to a rest on South

Santa Fe Drive.

       43.     That the squad car driven by Carns blocked the Plaintiffs Vehicle to the West,

McGrath’s Car parked them into the North, while Guzman blocked them in to the South.

       44.     That Guzman exited his vehicle to the South and drew his service weapon, walking

toward Plaintiffs’ vehicle and opened fire on said vehicle without a warning and without being in

imminent danger. Guzman fired his 40 Caliber, 22 Glock at least nine (9) times into the Plaintiffs’

vehicle.

       45.     That at the time Guzman fired into the Plaintiff vehicle it wasn’t moving and at least

one person, Plaintiff Martinez, had his hands up in the back seat.

       46.     That Defendant Carns to West of Plaintiffs’ stopped vehicle exited his vehicle and

fired his 9 mm, Glock .34 caliber into the Plaintiff’s vehicle without a warning and not being in

imminent danger.




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        47.    That Defendant McGrath to the North of Plaintiffs stopped vehicle exited his vehicle

and fired his 9 mm s+s handgun into the Plaintiffs’ vehicle without a warning and not being in

imminent danger. That McGrath fired at least seven (7) times into the Plaintiffs’ vehicle while it

was stopped. That most if not all of McGrath’s shots were from the back or side of Plaintiffs’

vehicle.

        48.    That when all Defendants were firing their weapons into Plaintiffs’ car it was not

moving, was not being used as a weapon, nor were the Plaintiffs using or displaying a firearm at the

Officers.

        49.    That Plaintiffs’ vehicle after receiving several shots from these officers started

moving again and was seen on video slowly driving North on Sana Fe toward the intersection.

        50.    Officer Guzman by his own statement walked to the right as Plaintiffs’ car drove

past him. The video also shows Defendant Guzman firing at the said vehicle of Plaintiffs after it is

driving away from Guzman and the scene.

        51.    That Plaintiffs, afraid of the gunfire directed at the vehicle, started their vehicle

slowly and proceeded to travel southeast toward Arkansas Avenue. That Plaintiffs turned left of

South Bannock, with the three Defendant Officers, Guzman, Carns, and McGrath following behind

the vehicle. That Plaintiffs continued North on South Bannock to West Mississippi Avenue making

a U-turn when Officers Guzman, Carns, and McGrath conducted another PIT maneuver by striking

the behind of Plaintiff’s vehicle. This PIT maneuver was conducted by Guzman upon information

and belief.

        52.    That Plaintiffs’ vehicle after being contacted in the rear right passenger side came to

a rest at 1233 South Bannock Street after completing a full spin and coming to rest perpendicular on

Bannock Street.




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       53.     The Plaintiffs’ car has suffered significant damage after the gun shots to the vehicle.

That Plaintiff Martinez in the rear passenger seat, during the gun fire on Sana Fe Avenue removed

himself from the vehicle afraid of being killed and after suffering from a gun shot wound himself.

       54.     Martinez was not apprehended until the next morning by the Police as he jumped out

of the car because the Defendant Police Officers would not stop firing at them without warning,

while Martinez held his hands up in the automobile.

       55.     That after the second PIT maneuver is performed by Guzman, Defendant Carns

blocked Plaintiffs’ vehicle to the North, while Guzman is parked to the East of Plaintiffs’ vehicle,

and McGrath does not exit his vehicle, which was to the West.

       56.     That Guzman got out of his vehicle and immediately un-holstered his weapon aimed

at the Plaintiffs’ stopped vehicle and immediately started to discharge his weapon without warning,

nor was he in imminent danger.

       57.     That Plaintiffs’ vehicle reversed shortly and proceeded to drive South on Bannock

Street the same way it had come in.

       58.     That when the Plaintiffs’ vehicle was stopped after the second PIT maneuver,

Defendant Carns was positioned to the North of Plaintiffs’ vehicle, by the passenger side and rear of

said vehicle opened fire multiple times on the vehicle without warning and without fearing for his

own life or being in imminent danger. Plaintiffs’ vehicle at said time was not being used as a

weapon nor was their any sign that the Plaintiffs’ vehicle had a weapon.

       59.     That Defendant Carns fired multiple times into said vehicle with his 9mm Glock .34,

which autopsy of Stephanie Lopez would show that her fatal wounds to the right back said of her

head came from the 9mm Glock .34, used by Defendant Carns.

       60.     That at least five (5) shots were fired into the vehicle by Carns at this stop.




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        61.      Next Plaintiffs’ vehicle proceeded to drive South on Bannock and made a wide right

turn right before the intersection, when Defendant Guzman pushed down on his accelerator and

collided with Plaintiffs vehicle causing it to collide with a pole and making the car inoperable.

        62.      That Guzman after colliding with Plaintiffs’ vehicle ran out of his car and kept firing

his weapon at the Plaintiffs’ vehicle which wasn’t moving and was inoperable. Plaintiffs’ vehicle

did not use or show any weapons towards Guzman or other Defendants. This collision was not a

PIT maneuver but a use of deadly force.

        63.      That Defendant Guzman at this scene emptied his weapon and reloaded it at least

once. At least twenty-one (21) shell casings were found at this scene from Guzman’s 40 Cal. 22

Glock. Many of these shots were fired from the backside of Guzman’s car and into the back and

side of Plaintiff’s car.

        64.      Defendant Officer Martinez, a Police Officer from the City of Englewood arrived on

the scene as the Plaintiffs were stopped and inoperable after striking the pole.

        65.      Officer Martinez exited his vehicle with no warning given to the Plaintiffs’ vehicle

and observed Guzman discharging his weapon into Plaintiffs’ car. Officer Martinez then fired

several shots into the Plaintiffs’ vehicle.

        66.      Plaintiffs were not driving their car at Martinez or Guzman and were never given

warnings before these shots were fired by Guzman and Martinez. The Plaintiffs did not show or

discharge a weapon at the Defendants. In fact, Lopez was deceased in the lap of Sanchez and

Martinez had already removed himself from the automobile, without the knowledge of the

Defendants because they are too busy firing at said vehicle.




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         67.    Officer Martinez after discharging his weapon into the vehicle noticed that Sanchez

was holding her hands in the air and shouted to Guzman to hold his fire because their hands were

up.

         68.    Sanchez held her hands up during the three separate stops, but this was not observed

until Officer Martinez saw her on the last stop at Louisiana Avenue.

         69.    The Plaintiffs’ vehicle at the time of apprehension on Louisiana Avenue was

inoperable. Sanchez upon apprehension had fourteen (14) bullet wounds to her body, on her left

cheek area, at least four (4) to her chest area, and 3-4 more in her spinal cord and rib area. She also

had several gun shot wounds to her shoulder, arm and several to her left tibia and fibula, leaving her

as a quad-paraplegic.

         70.    Plaintiff Martinez suffered a gun shot wound to his leg, while Lopez suffered several

gun shot wounds to her body with a fatal shot being to the right back side of her head.

         71.    That at least forty-four (44) shell casings were found at the scenes of the stops from

the weapons of Defendants Martinez, Carns, Guzman, and McGrath. These were just the number of

shell casings found but not the number of actual shots fired by the Defendant Officers.

         72.    That upon information and belief John Collings was the Chief of Police for the

Englewood Police Department and was in charge of Officer Martinez and of his training and

education.

         73.    That upon information and belief Doug Stephens was the Chief of Police for the

City of Littleton Police Department as was in charge of Officers Carns, Guzman, and McGrath and

of their training and Education.

                                   V.     CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF
      42 U.S.C. § 1983 – Excessive Force in violation of the Fourth and Fourteenth Amendments




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                     (Against Defendants Guzman, McGrath, Carns, Martinez)

        74.     Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

forth herein.

        75.     Plaintiffs in this action are/were citizens of the United States and all of the individual

police officer Defendants to this claim are persons for purposes of 42 U.S.C. § 1983.

        76.     All individual Defendants to this claim, at all times relevant hereto, were acting

under the color of state law in their capacity as Littleton and Englewood police officers and their

acts or omissions were conducted within the scope of their official duties or employment.

        77.     At the time of the complained events, Plaintiffs had a clearly established

constitutional right under the Fourth Amendment to be secure in their persons from unreasonable

seizure through excessive force.

        78.     Plaintiffs also had the clearly established Constitutional right under the Fourteenth

Amendment to bodily integrity to be free from excessive force by law enforcement.

        79.     Any reasonable police officer knew or should have known of these rights at the time

of the alleged conduct as they were clearly established at that time.

        80.     Defendants Guzman, McGrath, Carns, and Martinez’ actions and use of force, as

described herein, were objectively unreasonable in light of the facts and circumstances confronting

them and violated these Fourth Amendment rights of Plaintiffs.

        81.     Defendants Guzman, McGrath, Carns, and Martinez’ actions and use of force, as

described herein, were also malicious and/or involved reckless, callous, and deliberate indifference

to the Plaintiffs’ federally protected rights. The force used by these Defendant officers shocks the

conscience and violated these Fourteenth Amendment rights of Plaintiffs.




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        82.      Defendants Guzman, McGrath, Carns, and Martinez unlawfully seized the Plaintiffs

by means of objectively unreasonable, excessive and conscious shocking physical force, thereby

unreasonably restraining Plaintiffs from their freedom and in Stephanie Lopez’ case, her life.

        83.      The force used constituted deadly force in that it did cause death and serious bodily

injury, and could have caused further death or serious bodily injury.

        84.      None of the Defendant officers took reasonable steps to protect the Plaintiffs from

the objectively unreasonable and conscious shocking excessive force of other Defendant officers

despite being in a position to do so. They are each therefore liable for the injuries and damages

resulting from the objectively unreasonable and conscious shocking force of each other officer.

        85.      Defendants engaged in the conduct described by this Complaint willfully,

maliciously, in bad faith, and in reckless disregard of the Plaintiffs’ federally protected

constitutional rights.

        86.      They did so with shocking and willful indifference to the Plaintiffs’ rights and were

consciously aware that their actions would cause Plaintiffs sever physical and emotional injuries.

        87.      The acts or omissions of all individual Defendants were moving forces behind

Plaintiffs’ injuries.

        88.      The acts or omissions of Defendants as described herein intentionally deprived the

plaintiffs of their constitutional rights and cause them other damages.

        89.      These individual Defendants are not entitled to qualified immunity for the conduct

alleged.

        90.      The Defendants to this claim at all times relevant hereto were acting pursuant to

municipal/county custom, policy, decision, ordinance, regulation, widespread habit, usage, or

practice in their actions pertaining to Plaintiffs.




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        91.     As a proximate result of Defendants’ unlawful conduct, Plaintiff Marta Sanchez has

suffered actual physical and emotional injuries, and other damages and losses as described herein

entitling her to compensatory and special damages, in amounts to be determined at trial. As a further

result of the Defendants’ unlawful conduct, Sanchez has incurred special damages, such as

paralysis, including medically related expenses and will continue to incur further medical and other

special damages related expenses, in amounts to be established at trial.

        92.     On information and belief, Sanchez will suffer lost future earnings and impaired

earnings capacities from the not yet fully ascertained amount stemming from her paralysis, in

amounts to be ascertained in trial.

        93.     As a proximate result of Defendants’ unlawful conduct, Plaintiff Stephanie Lopez

was unlawfully killed entitling her estate to compensatory and special damages, in amounts to be

determined at trial.

        94.     As a proximate result of Defendants’ unlawful conduct, Plaintiff Dominic Martinez

has suffered actual physical and emotional injuries, and other damages and losses as described

herein entitling her to compensatory and special damages, in amounts to be determined at trial.

        95.     All Plaintiffs are further entitled to attorneys’ fees and costs pursuant to 42 U.S.C.

§1988, pre-judgment interest and costs as allowable by federal law.

        96.     In addition to compensatory, economic, consequential and special damages, all

Plaintiffs are entitled to punitive damages against each of the individually named Defendants under

42 U.S.C. § 1983, in that the actions of each of these individual Defendants have been taken

maliciously, willfully or with a reckless or wanton disregard of the constitutional rights of the

Plaintiffs.

                                SECOND CLAIM FOR RELIEF
                         Violation of 42 U.S.C. § 1983 – Monell Violations




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                 (Against the City of Littleton, Defendant Stephens, Defendant John Collins,
                                         and the City of Englewood).

          97.       Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

forth herein.

          98.       Defendant City of Littleton, Defendant Stephen, Defendant John Collins, and

Defendant the City of Englewood were, at all times relevant, policymakers for the city of Littleton

and Englewood and their respective police departments, and in that capacity established policies,

procedures, customs, and/or practices for the same.

          99.       These Defendants developed and maintained policies, procedures, customs and/or

practices of exhibiting deliberate indifference to the constitutional rights of citizens, which were

moving forces behind and proximately caused the violations of the Plaintiffs’ constitutional and

federal rights as set forth herein and in other claims, resulted from conscious or deliberate choice to

follow a course of action.

          100.      These Defendants have created and tolerated an atmosphere of lawlessness, and

have developed and maintained long-standing, department-wide customs, law enforcement related

policies, procedures, customs, practices, and/or failed to properly train and/or supervise its officers

in a manner amounting to deliberate indifference to the constitutional rights of the Plaintiffs and the

public.

          101.      In light of the duties and responsibilities of those police officers that participate in

arrests and preparation of police reports on alleged crimes, the need for specialized training and

supervision is so obvious, and the inadequacy of training and/or supervision is so likely to result in

the violation of constitutional and federal rights such as those described herein that the failure to

provide such specialized training and supervision is deliberately indifferent to those rights.




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        102.    The deliberately indifferent training and supervision provided by the Defendants

resulted from a conscious or deliberate choice to follow a course of action from among various

alternatives available to Defendants and were moving forces in the constitutional and federal

violation injuries complained of by the Plaintiffs.

        103.    As a proximate result of Defendants’ unlawful conduct, Plaintiff Marta Sanchez has

suffered actual physical and emotional injuries, and other damages and losses as described herein

entitling her to compensatory and special damages, in amounts to be determined at trial. As a further

result of the Defendants’ unlawful conduct, Sanchez has incurred special damages, such as

paralysis, including medically related expenses and will continue to incur further medical and other

special damages related expenses, in amounts to be established at trial.

        104.    On information and belief, Sanchez will suffer lost future earnings and impaired

earnings capacities from the not yet fully ascertained amount stemming from her paralysis, in

amounts to be ascertained in trial.

        105.    As a proximate result of Defendants’ unlawful conduct, Plaintiff Stephanie Lopez

was unlawfully killed entitling her estate to compensatory and special damages, in amounts to be

determined at trial.

        106.    As a proximate result of Defendants’ unlawful conduct, Plaintiff Dominic Martinez

has suffered actual physical and emotional injuries, and other damages and losses as described

herein entitling her to compensatory and special damages, in amounts to be determined at trial.

                                  THRID CLAIM FOR RELIEF
                                          Negligence
                                    (Against All Defendants)

        107.    Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

forth herein.




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        108.    Defendants intentionally and negligently seized Plaintiffs using excessive and

deadly force without lawful privilege against Plaintiffs’ consent, causing injury and death.

        109.    That Defendant undertook and owed Plaintiffs a duty to conform to a standard of

care, to ensure that they did not deprive Plaintiffs of their liberties without valid basis or use of

unnecessary force.

        110.    Notwithstanding the aforementioned duties, Defendants treated Plaintiffs in a

manner that was negligent, careless, reckless, and without concern for their safety.

        111.    Defendants failed to adequately train officers; failed to develop and implement

proper policies and procedures for use of deadly force and arrests, and failed to have some method,

policy practice, and/or procedure in regard to use of deadly force while in pursuit of suspects.

        112.    Defendants engaged in conduct that was so negligent, careless, and reckless that it

demonstrated a substantial lack of concern by failing to implement policies and procedures

concerning the training of officers by, including, but not limited to:

                a.      Failing to properly train officer to properly assess and determine when use of
                        force is necessary when confronting an idle vehicle;
                b.      Negligently, carelessly, and recklessly using deadly force when discharging
                        a firearm;
                c.      Negligently, carelessly, and recklessly using deadly force with a police
                        vehicle;
                d.      Negligently, carelessly, and recklessly hiring, training, maintaining, and
                        implementing competent police officers;
                e.      Negligently, carelessly, and recklessly failing to discipline, instruct,
                        supervise, and/or control the conduct of officers, thereby encouraging the
                        wrongful acts and omissions complained of herein; and,
                f.      Negligently, carelessly, and recklessly allowing a custom and/or practice
                        within their police departments of deliberate indifference to constitutional
                        and federal rights.

        113.    That as a direct and proximate result of the negligent, careless, and reckless

disregard for the Plaintiffs’ safety and well-being, Plaintiffs suffered injuries and damages

including, but no limited to the following:




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                 a.   Emotional distress, psychological distress, and mental anguish;
                 b.   Physical pain and suffering;
                 c.   Loss of companionship;
                 d.   Loss of future enjoyment of life;
                 e.   Fright and shock;
                 f.   Denial of social pleasure and enjoyment;
                 g.   Embarrassment, humiliation, and mortification,
                 h.   Reasonable expenses of necessary medical care, treatment and services;
                 i.   Constitutional violations;
                 j.   Death;
                 k.   Punitive damages for Defendants’ willful conduct; and,
                 l.   Any and all other damages.

                                   FOURTH CLAIM FOR RELIEF
                       Wrongful Death/Survival Statute (CRS § 13-21-201; 202)
                (By Plaintiff the Estate of Stephanie Lopez Against Defendants Guzman,
                                      McGrath, Carns, and Martinez)

        114.      Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

forth herein.

        115.     That Stephanie Lopez’ death was caused by Defendants’ wrongful acts, negligence,

and/or improper conduct.

        116.     That if Stephanie Lopez’ death had not ensued, she would have been able to bring a

claim against the above-named Defendants for violations of Title 42 of the United States Code,

Sections 1983 and 1985 for violations of her rights under the Fourth and Fourteenth Amendments to

the United States Constitution and her rights under the Colorado Constitution and Colorado

Common law.

                               VI.     DEMAND FOR JURY TRIAL

        117.     The Plaintiffs demand trial by jury.

                                   VII.   PRAYER FOR RELIEF

        Plaintiffs pray that this Court enter judgment for the Plaintiffs against each of the

Defendants and grant:




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      A.     compensatory and consequential damages, including damages for emotional
             distress, humiliation, loss of life, loss of enjoyment of life, and other pain and
             suffering on all claims allowed by law in an amount to be determined at trial;

      B.     Economic losses on all claims allowed by law;

      C.     Special damages in an amount to be determined at trial;

      D.     Punitive damages on all claims allowed by law against individual Defendants
             and in an amount to be determined at trial;

      E.     Attorneys’ fees and the costs associated with this action under 42 U.S.C. §      1988,
             including expert witness fees, on all claims allowed by law;

      F.     Pre- and post-judgment interest at the lawful rate; and,

      G.     Any further relief that this court deems just and proper, and any other
             appropriate relief at law and equity.

      Respectfully submitted this 27th day of June, 2019.

                                        Judge, Lang & Katers, LLC

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